                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR06-4019-MWB
 vs.                                         ORDER ACCEPTING MAGISTRATE
                                                  JUDGE’S REPORT AND
 KELSEY BURSELL,
                                             RECOMMENDATION REGARDING
               Defendant.                      DEFENDANT’S GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
        On March 21, 2006, an indictment was returned against defendant Kelsey Bursell,
charging defendant with conspiring to distribute and posses with intent to distribute 500
grams or more of methamphetamine, to distribute and possess with intent to distribute
powder cocaine, and to distribute and posses with intent to distribute 500 grams or more
of methamphetamine within 1000 feet of a park, in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A), 841(b)(1)(C), 846 and 860(a), and distributing 226.9 grams of
methamphetamine which contained 20.8 grams of pure methamphetamine, in violation of
21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B). On August 29, 2006, defendant appeared
before United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Counts
1 and 5 of the indictment.      On this same date, Judge Zoss filed a Report and
Recommendation in which he recommends that defendant’s guilty plea be accepted. No
objections to Judge Zoss’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommendation to accept defendant’s
plea in this case.




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                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of August 29,
2006, and accepts defendant’s plea of guilty in this case to Counts 1 and 5 of the
indictment.




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 IT IS SO ORDERED.
 DATED this 20th day of September, 2006.




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